                 Case 19-61608-grs                       Doc 34        Filed 01/07/20 Entered 01/07/20 17:49:03                                         Desc Main
                                                                       Document      Page 1 of 3

 Fill in this information to identify the case:
 Debtor name Americore Holdings, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                KENTUCKY
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BQR Capital, LLC                                                                       Disputed                       Unknown                         $0.00               Unknown
 C/O Pelorus Equity
 Group, Inc.
 124 Tustin Avenue,
 Suite 200
 Newport Beach, CA
 92663
 Corporation                                                                                                           Unknown                         $0.00               Unknown
 Services Company
 P.O. Box 2576
 Springfield, IL 62708
 CT Corporation                                                                                                        Unknown                         $0.00               Unknown
 Systems
 Attn: SPRS
 330 N. Brand Blvd.,
 Suite 700
 Glendale, CA 91203
 IMpact Healthcare                                                                      Disputed                                                                                  $0.00
 Management, LLC
 C/O Paul Norman
 Rechenberg
 215 Cheseterfield
 Business Parkway
 Chesterfield, MO
 63005
 Jones Day                                                                                                                                                                $13,500.00
 C/O Chris Anderson
 77 West Wacker
 Drive
 Chicago, IL 60601
 Koven Omens Trust                                                                      Disputed                       Unknown                         $0.00               Unknown
 Dated June 26, 2015
 C/O Pelorus Equity
 Group, Inc.
 124 Tustin Avenue
 Suite 200
 Newport Beach, CA
 92663

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case 19-61608-grs                       Doc 34        Filed 01/07/20 Entered 01/07/20 17:49:03                                         Desc Main
                                                                       Document      Page 2 of 3

 Debtor    Americore Holdings, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Pelorus Fund, LLC                                                                      Disputed                 $6,300,000.00                         $0.00          $6,300,000.00
 C/O Pelorus Equity
 Group, Inc.
 124 Tustin Avenue,
 Suite 200
 Newport Beach, CA
 92663
 Pelorus Fund, LLC                                                                      Disputed                       Unknown                         $0.00               Unknown
 C/O Bibin
 Mannattuparampil
 Geraci LLP
 90 Discovery
 Irvine, CA 92618
 Promise Healthcare                                                                     Disputed                                                                                  $0.00
 Group LLC
 C/O Richard Engel
 7700 Forsyth Blvd.,
 Suite 1800
 Saint Louis, MO
 63105
 Smart Business                                                                                                        Unknown                         $0.00               Unknown
 561 Northest 79th
 Street
 Miami, FL 33138
 The McNee Family                                                                       Disputed                       Unknown                         $0.00               Unknown
 Trust Dated 1/17/08
 C/O Pelorus Equity
 Group, Inc.
 124 Tustin Avenue,
 Suite 200
 Newport Beach, CA
 92663
 The Third Friday                                                                       Disputed                       Unknown                         $0.00               Unknown
 Total Return Fund,
 L.P.
 C/O Michael E.
 Lewitt
 85 N. Congress
 Avenue
 Delray Beach, FL
 33445
 Titan Loan                                                                                                            Unknown                         $0.00               Unknown
 Servicing, LLC
 C/O Pelorus Equity
 Group, Inc.
 124 Tustin Avenue,
 Suite 200
 Newport Beach, CA
 92663




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                 Case 19-61608-grs                       Doc 34        Filed 01/07/20 Entered 01/07/20 17:49:03                                         Desc Main
                                                                       Document      Page 3 of 3

 Debtor    Americore Holdings, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Trust of R. and G.                                                                                                    Unknown                         $0.00               Unknown
 Glitz Dated 12/11/07
 C/O Pelorus Equity
 Group, Inc.
 124 Tustin Avenue,
 Suite 200
 Newport Beach, CA
 92663




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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